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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 ROTHSCHILD PATENT IMAGING LLC,
                                                    Case No. 22-cv-01938-VC
                Plaintiff,

         v.                                         ORDER OF DISMISSAL

 ZENFOLIO, INC.,
                Defendant.



       The Court has been advised by a notice filed by the plaintiff on June 16, 2022 that the

parties have reached a settlement in this case. (Re: Dkt. No. 16). Therefore, it is ORDERED that

this case is DISMISSED without prejudice. All deadlines and hearings in the case are vacated.

Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reinstate the case is not filed and served on
opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: June 21, 2022

                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
